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                               E xhibit A
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                               SO W H ER N D ISTR IC T O F FLO R HM
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     Item //1- Documentsfrom Oftice
            1US GovenunentDocum entwith SECRET Clc sificationM arkings
            2 US GovernmentDocum ents/photop aphswithoutClmssitk ation M arkings


     ltem //2 - Box/containerfrom Office
            99M agazinesm ewspapers/pressArticlesand OtherPrinted M ediadatedbetween 01/2017-
            10/2018
            2 US GovernmentDocum entswith CONFIDENTIAL ClassificationM arldngs
            15 US GovernmentDoculnentswith SECRET Classification M arkings
            7 US GovernmentDocum entswith TOP SECRET Classification M arkings
            69 US GovernmentDocum ents/photographswithoutClassitk ation M arkings
            43 Em pty Folderswith GICLASSIFIED''Banners
            28Em pty FoldersLabeled RRet'urn to StaffSecretaryN iliary Aide''


     ltem #3- Docum entsfrom Office
            2 US GovernmentDocumentsg hotographswithoutClassificationM arkings


     ltem //4- Docum entsfrom Office
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                26 M agazinesm ewspapers/pressArticlesand OtherPrintedM ediadated between 01/2020-
                   11/2020
                1US GovernmentDocllm entwith CONFIDENTIAL Classification M arkings
                1US Governm entDocum entswith SECRET Classitication M arldngs
                357 US GovernmentDocum entsg hotographswithoutClassification M arkings


         ltem //5- Documentsfrom Oftk e
                396 US GovenunentDocum entsg hotographswithoutClassitication M arkings


         ltem //6- Docum entsfrom Oftk e
                640 US GovenunentDocum entsg hotographswithoutClassification M arkings


         ltem //7- Documentsfrom Oftice
                1U S Governm entDocumentg hotograph withoutClassitication M arkings


         ltem //8- Box/containerfrom StorageRoom
                68 M agazinesm ewspapersg ressArticlesand OtherPrintedM ediadated between 10/2015-
                05/2017
                lArticleofClothingfGiftItem
                lBook
                2US Governm entDoolments/photographswithoutClassitk ation M arkings


         ltem //9- Box/containerfrom StorageRoom
                91M agazinesm ewspapers/pressArticlesand OtherPrintedM ediadated between 01/2019-
                09/2020
                1Article ofClothing/Giftltem
                65 US Governm entDocuments/photov aphswithoutCl% sification M arkings


         Item #10- Box/containerfrom StorageRoom
                30M agazinesm ewspapersgressArticlesand OtherPrintedM ediadated between 10/2008-
                12/2019
                11US Governm entDocumentswith CONFIDENTIAL Classitk ation M arkings
                21US GovermnentDocumentswith SECRET Classification M arkings
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             3 ArticlesofClotlling/Giftltems
             1Book
             255 US Governm entDocum ents/photographswithoutClassification M arkings


     Item #11- Box/containerfrom StorageRoom                  '
             116 M agazinesm ewspapers/pressArticlesand OtherPrintedM ediadated between 06/2019-
             08/2020
             8US GovernmentDocum entswith CONFIDENTIAL ClmssiticationM arkings
             1US GovernmentDocum entwith SECRET Clusification M arkings
             2 US GovernmentDocum entwith TOP SECRET Classification M arl
                                                                        dngs
             l04 US Governm entDocumentsg hotographswithoutClassification M arkings


     Item #12 - Box/containerfrom StorageRoom
             39 M agazinesm ewspapers/pressArticlesand OtherPrinted M ediadatedbetween 01/2017-
             03/2020
             71US Governm entDocuments/photographswithoutClassification M arkings


     ltem #13 - Box/containerfrom StorageRoom
             62M agazinesm ewspapersg ressAlticlesand OtherPrinted M ediadatedbetween
             09/2018-08/2019
             2 US GovenmzentDocum entswith CONFIDENTIAL Classification M arkings
             1US GovernmentDocum entwith TOP SECRET Clmssification M arkings
         '
             1ArticleofClothing/Giftltems
             708 US Governm entDocuments/photographswithoutClassitication M arkings


     ltem #14 - Box/containerfrom StorageRoom
             87M agazinesm ewspapersg ressArticlesand OtherPrinted M ediadatedbetween
             01/2018-11/2019
             2US Govelmm entDocumentswith CONFIDENTIAL Classification M arkings
             438US GovernmentDoctunentsg hotographswithoutClassitk ation M arkings


     Item #15- Box/containerfrom StorageRoom
             65M agazinesW ewspapers/pressArticlesand OtherPrinted M ediadated between
             10/2016-11/2018
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           lUS GovermnentDocumentswith CONFIDENTIAL Classification M arkings
           4 US Governm entDocumentwith SECRET Clu sitication M arldngs
           2 Books
           78US GovenunentDocuments/photographswithoutClassitication M qrkings
           2 Empty Folderswith <KCLASSIFIED''Bnnners
           2 Em ptyFoldersLabeleddçRet'
                                      urrlto StaffSecretaryN iliary Aide''


     Item #16- Box/containerfrom StorageRoom
           76M agazinesm ewspapersg ressArticlesand OtherPrinted M edia dated between
           11/2017-12/2017
           60US GovernmentDocum ents/photov aphswithoutClassification M arkings


     ltem #17- Box/containerfrom StorageRoom                             '
           67M agazinesm ewspapers/pressArticlesand OtherPrinted M edia dated between
           7/2016- 3/2017
           5 ArticlesofClothinga/Giftltems
           2 US Governm entDocumentsg hotographswithoutClassitk ation M arkings


     ltem #18- Box/containerfrom StorageRoom
           4 M agazinesm ewspapers/pressArticlesand OtherPrintedM ediadated between
           01/2018- 12/2019
           1US Govelmm entDocumentwith SECRFT Classification M arldngs
           1Book
           1571US GovernmentDocuments/photographswithoutClassification M arkings
           2 EmptyFoldersLabeledtslketurn to StaffSecretary/M iliary Aide''


     ltem #19- Box/containerfrom StorageRoom
           53 M agazinesm ewspapers/pressArticlesand OtherPrinted M ediadated between
           05/2016 - 01/2020
           1US GovermnentDocumentswith CONFIDENTIAI,Classitk ation M arkings
           5 ArticlesofClothing/Giftltems
           236US GovenlmentDocum entsg hotographswithoutClassification M arkings


     Item #20- Box/containerfrom StorageRoom
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           121M agazinesW ewspapers/pressArticlesand OtherPrintedM ediadated between
           08/2017-12/2017
            16 US GovernmentDocuments/photographswithoutClassification M arkings


     ltem #21- Box/container9om StorageRoom
           2 M agazinesm ewspapersg ressArticlesand OtherPrinted M edia dated 11/2020
            1406 US GovermnentDocum ents/photographswithoutClassifk ationM arkings


     ltem #22- Box/containerfrom StorageRoom
           109 M agazinesm ewspapers/pressArticlesand OtherPrinted M ediadated between
           06/2020- 10/2020
           29US GovernmentDocum ents/photographswithoutClassification M arkings


     Item #23- Box/containerfrom StorageRoom
            67 M agazinesm ewspapers/pressAticlesand OtherPrinted M edia'dated between
            l1/2016- 06/2018
            1US GovelmmentDocum entwith SECRET Cl% sification M arkings
            1Book
            70US Governm entDocuments/photographswithoutClassification M arkings
            8Empty FoldersLabeled ççlketlzrnto StaffSecretaryN iliary Aide''


     Item #24 - Box/containerfrom StorageRoom
            1M agazinesm ewspapersp ressArticlesand OtherPrinted M edia dated circa20l8
            1603 US GovernmentDocuments/photographswithoutClmssification M arldngs


     Item #25 - Box/containerfrom StorageRoom
            76M agazinesm ewspapersg ressArticlesand OtherPrinted M edia dated between
            10/2016- 11/2017
            1US GovernmentDocum entswith CONFIDENTIAL ClassificationM arkings
            1US GovernmentDocum entwith SECRET ClassificationM arldngs
            20 US Governm entDocumentsg hotographswithoutClassification M arkings
            1Empty Folderwith CKCLA SSIFIED''Barmer


     ltem #26- Box/containerfrom StorageRoom
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            8M agazinesm ewspapersg ressArticlesand OtherPrinted M ediadated between
            12/2017- 3/2020
            3US GovernmentDocumentwith TOP SECRET Clmssification M arldngs
            1ArticleofClothing/GiftItem s
            1Book
            1841US GovernmentDocum ents/photographswithoutClassitk ationM arkings


     Item #27- Box/containerfrom StorageRoom
             1M agazinedm ewspapers/pressArticlesand OtherPrintedM ediadated between
             07/2016- 9/2020
             1AdicleofClothing/Giftltem s
             23 Books
             52 US Governm entDocumentsg hotographswithoutClassification M arkings


     Item #28- Box/containerfrom StorageRoom
             2M agazinesm ewspapersg ressArticlesand OtherPrinted M ediadatedbetween
             2/2017 - 3/2017
             2US GovernmentDocum entswith CONFIDENTIAL Classification M arkings
             8US GoverfunentDocum entwith SECRET Classification M arkings
            4 US GovernmentDocum entwith TOP SECRET Classifiqation M arkings
             1ArticleofClothing/GiftItems
             1BO0k          '
            795U S Governm entDocuments/photographswithoutClassification M arldngs


     Item #29 - Box/containerfrom StorageRoom
            86M agazinesm ewspapers/pressArticlesand OtlzerPrinted M edia dated between
            10/1995 - 05/2019
             1US Governm entDocumentwith TOP SECRET Classification M arkings
            35 US GovernmentDocuments/photographswithoutClassification M arkings


     Item #30- Box/containerfrom StorageRoom
            29 M agazinesm ewspapers/pressAdiclesand OtherPrinted M edia dated between
            05/2020- 09/2020                     '
            82 US Governm entDocuments/photographswithoutClassification M arkings
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     Item # 31- Box/container9om StorageRoom
            111M agazinesm ewspapers/pressArticlesand OtherPrinted M edia dated between
            06/2015 - 04/2019
            41US GovernmentDocllm ents/photographswithoutClassification M arldngs


     Item #32- Box/containerfrom StorageRoom
            94 M agazinesm ewspapersg ressArticlesand OtherPrinted M ediadatedbetween
            02/2008-04/2020'
             1Book                                                '
            88US GovernmentDocum entsg hotographswithoutClassitication M arkings


     ltem.#33- Box/containerfrom Stora eRoom
             83 M agazinesm ewspapersg ressArticlesand OtherPrinted M edia dated between
             02/2017- 02/2018                                                    .
            1Book
            44 US GovermnentDocumentsg hotographswithoutClassificationM arkings
            2 Empty Folderswith CICLASSIFIED''Banners
       .
            2 Empty FoldersLabeledûûReturn toStaffSecretmy/M iliary Aide''
